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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN


QOTD FILM INVESTMENT LTD                       )
A United Kingdom Limited Company               )
                                               )       Case No.:       2:16-cv-11275
               Plaintiff,                      )
                                               )       Hon. Judge Matthew F. Leitman
v.                                             )
                                               )       Magistrate Judge Stephanie Dawkins Davis
                                               )
DOES 1-26,                                     )
                                               )
               Defendants.                     )


              AMENDED MOTION FOR LEAVE TO SERVE THIRD PARTY SUBPOENAS
                      PRIOR TO A RULE 26(f) CONFERENCE

       Pursuant to Fed. R. Civ. P. 26(d)(1), and upon the attached: (1) Memorandum of Law in

support of this motion; and (2) Declaration of David Macek submitted in support of this motion,

Plaintiff respectfully moves for entry of an order granting leave to serve third party subpoenas upon

the Internet Service Providers identified in Exhibit 1 prior to a Rule 26(f) conference (the “Motion”).

A proposed order is attached for the Court’s convenience.

       Oral hearing requested.



DATED: April 8, 2016                           Respectfully submitted,

                                               By: s/Barry C. Kane
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                                  ATTORNEY FOR PLAINTIFF
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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN


QOTD FILM INVESTMENT LTD                      )
A United Kingdom Limited Company              )
                                              )         Case No.:     2:16-cv-11275
               Plaintiff,                     )
                                              )         Hon. Judge Matthew F. Leitman
v.                                            )
                                              )         Magistrate Judge Stephanie Dawkins Davis
                                              )
DOES 1-26,                                    )
                                              )
               Defendants.                    )


                   MEMORANDUM IN SUPPORT OF PLAINTIFF’S
                     AMENDED MOTION FOR LEAVE TO TAKE
                  DISCOVERY PRIOR TO RULE 26(f) CONFERENCE
                         ORAL HEARING REQUESTED

I. Introduction
       This action seeks to address the infringement of Plaintiff’s copyrighted motion picture

entitled “Queen of the Desert” (the “Film”). The alleged Defendants are only known at this time

by their Internet Protocol (IP) address. Plaintiff must take early discovery of the Internet Service

Providers of the Defendants to obtain their true names, addresses, and account information.

       The Film is a chronical of Gertrude Bell’s life, a traveler, writer, archeologist, explorer,

cartographer, and political attaché for the British Empire at the dawn of the twentieth century.

The critically acclaimed film was written and directed by Werner Herzog and starts James

Franco, Nicole Kidman, Robert Pattinson among others. This film has been estimated to have

been illegally copied by thousands since its release.

       A. Peer-to-Peer File Sharing

       Illegally downloading mainstream movies to avoid purchasing a ticket, the DVD or a

rental fee is so pervasive that the public widely accepts it without question. There are even



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websites devoted to illegal copying. One such website is The Pirate Bay where instructions on

how to download the required pirating software, usually a torrent, may be obtained.1 The Pirate

Bay website even provides a convenient “Pirate Search” tab that enables copiers to “shop” for

illegal copies of games, music, movies, books and software. This illegal copying clearly is an

intentional act since it requires an infringer to install special software and search out movies to

pirate. This is the problem this action seeks to address.

       Cloaked in the anonymity of the Internet, digital pirates band together into swarms using

file-sharing technology such as BitTorrent to illegally obtain and distribute high quality copies of

the Film. While each single act of infringement may appear to be slight, collectively, illegal

downloading often starts even before a movie is released and costs legitimate industries millions

of dollars. Exhibit A. Not only are movies pilfered, the pirates‟ other prizes include TV shows,

computer games, e-books, software and music.

       This suit not only represents a single copyright owner faced with the daunting task of

protecting its Intellectual Property from the irreparable harm caused by over one-hundred-

thousand swarming infringers, it is emblematic of the fight of the motion picture industry and

any other legitimate businesses that rely on copyright protection. Denying Plaintiff the discovery

needed to pursue the infringing swarm in a single action endorses and encourages the

infringement. It frees the pirates to roam the Internet searching for prizes by providing shelter

through the anonymity of the Internet and the high cost of individual enforcement.

       B. Who Are the “Does”

       Plaintiff has named the Defendants as “Does” because they committed the infringement

using pseudonyms (“user names” or “network names”), not their true names. Plaintiff has only

been able to identify the Doe Defendants by (1) their Internet Protocol (“IP”) addresses, (2) the

dates and times of the infringement, (3) the file hash value which identifies each Defendant as

cooperatively participating in the same swarm and (4) the location of each IP address.

       Defendants’ actual names may only be obtained from the non-party Internet Service

Providers (“ISPs”) to which the Defendants subscribe and from which the Defendants obtain


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Internet access, as this information is readily available to the ISPs from documents kept in the

regular course of business. Accordingly, Plaintiff seeks the leave of the Court to serve limited

discovery prior to the Rule 26(f) conference on the non-party ISPs solely to determine the true

identities of the Doe Defendants. Plaintiff requests that the Court allow Plaintiff to serve Rule

45 subpoenas on the ISPs immediately so as not to delay this case, and to allow the ISPs the time

necessary to comply with the safe-harbor provisions of giving notice to their subscribers.

       Should the Court grant this Motion, Plaintiff will serve subpoenas on the ISPs requesting

them to produce the identifying information. The ISPs will be able to notify their subscribers

that this information is being sought, and, if so notified, each Defendant will have the

opportunity to raise any objections before this Court. Thus, to the extent that any Defendant

wishes to object, he or she will be able to do so.

II. Argument
       Pursuant to Rule 26(d)(1), except for circumstances not applicable here, absent a court

order, a party may not propound discovery in advance of a Rule 26(f) conference. Rule 26(b)

provides courts with the authority to issue such an order: “[f]or good cause, the court may order

discovery of any matter relevant to the subject matter involved in the action.” Turner Industries

Group, LLC vs. International Union of Operating Engineers, Local 450, U.S. Dist. LEXIS

68746, at *7-*10 (S. D. Tex. 2013). In Internet infringement cases, courts routinely find good

cause exists to issue a Rule 45 subpoena to discover a Doe defendant’s identity, prior to a Rule

26(f) conference, where: (1) the plaintiff makes a prima facie showing of a claim of copyright

infringement, (2) plaintiff submits a specific discovery request, (3) there is an absence of

alternative means to obtain the subpoenaed information, (4) there is a central need for the

subpoenaed information, and (5) defendants have a minimal expectation of privacy. See Arista

Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010) (citing Sony Music Entm’t v. Does 1-40, 326

F.Supp.2d 556, 564-65 (S.D.N.Y. 2004) (numbers added)); Elektra Entm’t Group, Inc. v. Doe,

No. 5:08-CV-115-FL, 2008 WL 5111886, at *4 (E.D.N.C. Dec. 4, 2008) (same); Warner Bros.

Records, Inc. v. Doe, No. 5:08-CV-116-FL, 2008 WL 5111883, at *4 (E.D.N.C. Dec 4, 2008)


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(same); BMG Music v. Doe # 4, No. 1:08-CV-135, 2009 WL 2244108, at *3 (M.D.N.C. July 24,

2009) (same). See also, Arista Records LLC v. Does 1-19, 551 F.Supp.2d 1, 6-7 (D.D.C. 2008),

and the cases cited therein, noting the “overwhelming” number of cases where copyright

infringement plaintiffs sought to identify “Doe” defendants and courts “routinely applied” the

good cause standard to permit discovery. Here, all of the good cause elements are present.

Thus, this Court should grant the Motion.

          A. Precedent Allowing Discovery to Identify Doe Defendants

          In copyright cases brought by motion picture studios and record companies against Doe

defendants, this Court and other courts have granted leave to take expedited discovery to serve

subpoenas on ISPs to obtain the identities of Doe Defendants prior to a Rule 26 conference.

TCYK, LLC v Does 1-9, 13-cv-14322 (E.D. Mich. December 2, 2013)(Doc. 9); Patrick Collins

Inc. v John Does 1-21, 282 F.R.D. 161, 2012 WL 1198040 (E.D. Mich. 2012); Warner Bros.

Records, Inc. v. Does 1-6, 527 F.Supp.2d 1, 2 (D.D.C. 2007) (allowing plaintiffs to serve a Rule

45 subpoena upon Georgetown University to obtain the true identity of each Doe defendant,

including each defendant's true name, current and permanent addresses and telephone numbers,

email address, and Media Access Control (“MAC”) address) (citing Memorandum Opinion and

Order, UMG Recordings, Inc. v. Does 1-199, No. 04-093(CKK) (D.D.C. March 10, 2004);

Order, UMG Recordings v. Does 1-4, 64 Fed. R. Serv. 3d (Callaghan) 305 (N.D. Cal. March 6,

2006)).

          The following factors are considered when granting motions for expedited discovery to

identify anonymous Internet users: (1) whether the plaintiff can identify the missing party with

sufficient specificity such that the Court can determine that defendant is a real person or entity

who could be sued in federal court; (2) all previous steps taken by the plaintiff to identify the

Doe Defendant have been unsuccessful; and (3) whether the plaintiff’s suit could withstand a

motion to dismiss. Columbia Ins. Co. v. Seescandy.com, 185 F.R.D. 573, 578-80 (N.D. Cal.

1999).

          B. Good Cause Exists to Grant the Motion


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               1. Plaintiff’s Prima Facie Claim for Copyright Infringement

                       a. Overview of Allegations and Factual Showings
       The Complaint alleges that the Doe Defendants, without authorization, used an online

media distribution system to cooperatively download the copyrighted Film and to cooperatively

distribute it to other users on the P2P network, including by making the copyrighted Film for

which Plaintiff holds the exclusive reproduction and distribution rights. (Compl. ¶¶ 11-18)

Maverickeye UG (“MEU”), a provider of online anti-piracy services for the film industry, was

engaged to monitor this infringing activity. Exhibit A; Declaration of Daniel Macek (“Macek

Decl.”).

       An IP address is a unique numerical identifier that is automatically assigned to an Internet

user by the user’s Internet Service Provider (“ISP”). In logs kept in the ordinary course of

business, ISPs keep track of the IP addresses assigned to their subscribers. Once provided with

an IP address, plus the date and time of the detected and documented infringing activity, ISPs

can use their subscriber logs to identify the name, address, email address, phone number and

Media Access Control number of the user/subscriber. (Macek Decl., ¶ 17).

       Only the ISP to whom a particular IP address has been assigned for use by its subscribers

can correlate that IP address to a particular subscriber. From time to time, a subscriber of

Internet services may be assigned different IP addresses from their ISP. Thus, to correlate a

subscriber with an IP address, the ISP also needs to know when the IP address was being used.

Unfortunately, many ISPs only retain for a very limited amount of time the information

necessary to correlate an IP address to a particular subscriber. (Macek Decl., ¶18).

       To identify the IP addresses of those torrent users who were copying and distributing

Plaintiff’s copyrighted Film, Daniel Macek, a software consultant with MEU, was responsible

for analyzing, reviewing and attesting to the results of the investigation. (Macek Decl., ¶¶ 19-22).

       Forensic software provided by MEU to scan peer-to-peer networks for the presence of

infringing transactions (Macek Decl., ¶23) and the IP addresses of the users responsible for

copying and distributing the Film were isolated. (Macek Decl., ¶24) Through each of the


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transactions, the computers using the IP addresses identified in Complaint Exhibit 1 transmitted a

copy or a part of a copy of a digital media file identified by the relevant hash value. The IP

addresses, hash values, dates and times contained in Complaint Exhibit 1 correctly reflect what is

contained in the evidence logs. The subscribers using the IP addresses set forth in Complaint

Exhibit 1 were all part of a “swarm” of users that were reproducing, distributing, displaying or

performing the copyrighted work. (Macek Decl., ¶25)

       Moreover, the users were sharing the exact same copy of the Film. Any digital copy of

an audiovisual work may be uniquely identified by a unique, coded, string of characters called a

“hash checksum,” also referred to as a hash file. The hash checksum is a string of alphanumeric

characters generated by a mathematical algorithm known as US Secure Hash Algorithm 1 or

“SHA-1”, which was developed by the National Security Agency and published as a US

government standard. Using a hash checksum to identify different copies of the Film, it was

confirmed that these users reproduced the very same copy of the Film. (Macek Decl., ¶26)

       The MEU software analyzed each Torrent “piece” distributed by each IP address listed in

Complaint Exhibit 1 and verified that reassembling the pieces using a specialized Torrent client

results in a fully playable digital copy of the Film. (Macek Decl., ¶27).

       The software uses a geolocation functionality to confirm that all IP addresses of the users

set forth in Complaint Exhibit 1 are accurate. Though an IP address alone does not reveal the

name or contact information of the account holder, it does reveal the locations of the Internet line

used for the transaction. IP addresses are distributed to ISPs by public, nonprofit organizations

called Regional Internet Registries. These registries assign blocks of IP addresses to ISPs by

geographic region. In the United States, these blocks are assigned and tracked by the American

Registry of Internet Numbers. Master tables correlating the IP addresses with local regions are

maintained by these organizations in a publicly-available and searchable format.             An IP

addresses geographic location can be further narrowed by cross-referencing this information with

secondary sources such as data contributed to commercial database by ISPs. (Macek Decl., ¶28).




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                        b. Plaintiff’s Prima Facie Showing of Copyright Infringement
         Plaintiff has sufficiently identified the Doe Defendants through the unique IP address that

each Doe Defendant was assigned at the time of the unauthorized distribution and copying of the

copyrighted Film. These Defendants gained access to the Internet through their respective ISPs

by setting up an account with the various ISPs. The ISPs can identify each Defendant by name

through the IP address by reviewing its subscriber activity logs. Thus, Plaintiff can show that all

Defendants are “real persons” whose names are known to the ISP and who can be sued in federal

court.

         A prima facie claim of copyright infringement consists of two elements: (1) ownership of

a valid copyright, and (2) copying of constituent elements of the work that are original. Feist

Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991). Plaintiff satisfied the first

good cause factor by properly pleading a cause of action for copyright infringement. (Compl. at

¶¶ 11-18) In re Aimster Copyright Litig., 334 F.3d 643, 645 (7th Cir. 2003), cert. denied, 124 S.

Ct. 1069 (2004) (“Teenagers and young adults who have access to the Internet like to swap

computer files containing popular music. If the music is copyrighted, such swapping, which

involves making and transmitting a digital copy of the music, infringes copyright.”); Elektra

Entm’t Group, Inc. v. Doe, No. 5:08-CV-115-FL, 2008 WL 5111886, at *4 (E.D.N.C. Dec. 4,

2008) (“[P]laintiffs have established a prima facie claim for copyright infringement, as they have

sufficiently alleged both ownership of a valid copyright and encroachment upon at least one of

the exclusive rights afforded by the copyright.”); Warner Bros. Records, Inc. v. Doe, No. 5:08-

CV-116-FL, 2008 WL 5111883, at *4 (E.D.N.C. Dec 4, 2008) (same). Accordingly, Plaintiff

has exceeded its obligation to plead a prima facie case.

                2. Plaintiff Seeks Limited and Specific Discovery

         Plaintiff only seeks to discover the name and address of the Defendants. This is all

specific information that is in the possession of the Defendant’s ISP that will enable Plaintiff to




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advance the action. Since the requested discovery is limited and specific, Plaintiff has satisfied

the second good cause factor.

               3. No Alternative Means Exist to Obtain Defendant’s True Identities

       Other than receiving the information from the Defendants’ ISP, there is no way to obtain

Defendants’ true identity because the ISP is the only party who possesses records which track IP

address assignment to their subscribers. Consequently, the ISP is the source for information

relating to associating an IP address to a real person. Since there is no other way for Plaintiff to

obtain Defendant’s identity, except by serving a subpoena on Defendant’s ISPs demanding it,

Plaintiff has established the third good cause factor. See Columbia Ins. Co. v. Sees Candy et al.,

185 F.R.D. 573, 578-80 (N.D. Cal. 1999); Elektra Entm’t Group, Inc. v. Doe, No. 5:08-CV-115-

FL, 2008 WL 5111886, at *4 (E.D.N.C. Dec. 4, 2008) (finding that the feasibility of a suggested

alternative method of determining defendants‟ identities by hiring a private investigator to

observe downloading “is questionable at best”); Warner Bros. Records, Inc. v. Doe, No. 5:08-

CV-116-FL, 2008 WL 5111883, at *4 (E.D.N.C. Dec 4, 2008) (same).

               4. Discovery Is Needed to Advance the Asserted Claims
       Plaintiff will not be able to serve the Defendants with process and proceed with this case

without the requested discovery. Plaintiff’s statutorily protected property rights are at issue in

this suit and, therefore, the equities should weigh heavily in favor of preserving Plaintiff’s rights.

Since identifying the Defendant by name is necessary for Plaintiff to advance the asserted

claims, Plaintiff has established the fourth good cause factor. Sony, 326 F.Supp. at 566; BMG

Music v. Doe # 4, No. 1:08-CV-135, 2009 WL 2244108, at *3 (M.D.N.C. July 24, 2009) (finding

under nearly identical circumstances that “[p]laintiffs have shown that the subpoenaed

information—Doe # 4‟s identity—is centrally needed to advance Plaintiffs‟ copyright

infringement claim”).

               5. Plaintiff’s Interest in Knowing Defendant’s True Identities Outweighs
               Defendant’s Interests in Remaining Anonymous




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       Plaintiff has a strong legitimate interest in protecting its copyright. Defendants are

copyright infringers with no legitimate expectation of privacy in the subscriber information

provided to the ISP, much less in distributing the copyrighted work in question without

permission. See Guest v. Leis, 255 F.3d 325, 336 (6th Cir. 2001) (“computer users do not have a

legitimate expectation of privacy in their subscriber information because they have conveyed it

to another person—the system operator”); BMG Music v. Doe # 4, No. 1:08-CV-135, 2009 WL

2244108, at *3 (M.D.N.C. July 24, 2009) (finding under nearly identical circumstances that

“[p]laintiffs have shown that Defendant Doe # 4 has a minimal expectation of privacy

downloading and distributing copyrighted songs without permission”); Interscope Records v.

Does 1-14, 558 F.Supp.2d 1176, 1178 (D. Kan. 2008) (a person using the Internet to distribute or

download copyrighted music without authorization is not entitled to have their identity protected

from disclosure under the First Amendment); Sony, 326 F.Supp.2d at 566 (“defendants have little

expectation of privacy in downloading and distributing copyrighted songs without permission”);

Arista Records LLC v. Does 1-19, 551 F. Supp. 2d 1, 8-9 (D.D.C. Apr. 28, 2008) (finding that

the “speech” at issue was that doe defendant’s alleged infringement of copyrights and that

“courts have routinely held that a defendant’s First Amendment privacy interests are exceedingly

small where the …speech ‟is the alleged infringement of copyrights”); Sony Music Entm’t, Inc.

v. Does 1–40, 326 F. Supp. 2d 556, 566 (S.D.N.Y. 2004) (“defendants have little expectation of

privacy in downloading and distributing copyrighted songs without permission”); Arista

Records, LLC v. Doe No. 1, 254 F.R.D. 480, 481 (E.D.N.C. 2008); U.S. v. Hambrick, 55 F. Supp.

2d 504, 508 (W.D. Va. 1999), aff’d, 225 F.3d 656 (4th Cir. 2000).

       Downloading a mainstream motion picture is no different than downloading a song.

Being named as a defendant in this action does not expose an individual to embarrassment. It is

not blackmail. In fact, copying music and mainstream movies is so pervasive that the public

widely accepts it without question. And, this is the exact problem this lawsuit addresses. That

copying a mainstream movie is no different than downloading a song, it raises no privacy

concerns.


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       C. Irreparable Harm Establishes Good Cause to Grant the Motion
       Good cause exists here for the additional reason that a claim for copyright infringement

presumes irreparable harm to the copyright owner. This is especially true in this matter since the

copying results in financial losses such as lost ticket sales and eroding rentals and purchases. See

UMG Recordings, Inc. v. Doe, 2008 WL 4104214 (N.D. Cal. 2008) (finding good cause for

expedited discovery exists in Internet infringement cases, where a plaintiff makes a prima facie

showing of infringement, there is no other way to identify the Doe defendant, and there is a risk

an ISP will destroy its logs prior to the conference); Melville B. Nimmer & David Nimmer,

Nimmer on Copyright, § 14.06[A], at 14-03 (2003); Elvis Presley Enter., Inc. v. Passport Video,

349 F.3d 622, 631 (9th Cir. 2003).

       The first and necessary step that Plaintiff must take to stop the infringement of its

valuable copyright is to identify the Doe Defendants who are copying and distributing the Film.

This lawsuit cannot proceed without the limited discovery Plaintiff seeks because the ISPs are

the only entities that can identify the otherwise anonymous Defendants. Courts regularly permit

early discovery where such discovery will “substantially contribute to moving th[e] case

forward.” Semitool, 208 F.R.D. at 277.

III. Conclusion
       For the foregoing reasons, Plaintiff respectfully submits that the Court should grant the

pending Motion for Leave to Take Discovery Prior to the Rule 26 Conference. Plaintiff requests

permission to serve a Rule 45 subpoena on the ISPs it has identified as of this date, and those it

identifies in the future, so that the ISPs can divulge the true name and address of each Doe

Defendant that Plaintiff has identified to date, and those it identifies in the future during the

course of this litigation and an order that the ISPs shall comply with the subpoenas. Plaintiff

will only use this information to prosecute its claims. Without this information, Plaintiff

cannot pursue its lawsuit to protect its Film from past and ongoing, repeated infringement.



DATED: April 8, 2016                                 Respectfully submitted,


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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN


QOTD FILM INVESTMENT LTD                        )
A United Kingdom Limited Company                )
                                                )       Case No.:       2:16-cv-11275
                Plaintiff,                      )
                                                )       Hon. Judge
v.                                              )
                                                )       Magistrate Judge
                                                )
DOES 1-26,                                      )
                                                )
                Defendants.                     )


              DECLARATION OF DANIEL MACEK IN SUPPORT OF
            PLAINTIFF’S MOTION FOR LEAVE TO TAKE DISCOVERY
                      PRIOR TO RULE 26(f) CONFERENCE
_______________________________________________________________________________


        1.      My name is Daniel Macek. I am over the age of 18 and am otherwise competent to

make this declaration. This declaration is based on my personal knowledge and, if called upon to

do so, I will testify that the facts stated herein are true and accurate.

        2.      I am an employee at Maverickeye UG (“MEU”), a company incorporated in

Stuttgart and organized and existing under the laws of Germany, in its technical department.

MEU is in the business of providing forensic investigation services to copyright owners.

        3.      The Internet is a vast collection of interconnected computers and computer

networks that communicate with each other. It allows users to freely and easily exchange ideas

and information, including academic research, literary works, financial data, music, audiovisual

works, graphics, and an unending and ever-changing array of other data.

        4.      The Internet also affords opportunities for the wide-scale infringement of

copyrighted motion pictures and other digital content.




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        5.     Once a motion picture has been transformed into a digital format, it can be copied

further and distributed an unlimited number of times over the Internet, without significant

degradation in picture or sound quality.

        6.     To copy and distribute copyrighted motion pictures over the Internet, many

individuals use onHne media distribution systems or so-called peer-to peer ("P2P") or BitTorrent

networks. P2P networks, at least in their most common form, are computer systems that enable

Internet users to (1) make files (including motion pictures) stored on each user's computer

available for copying by other users; (2) search for files stored on other users' computers; and (3)

transfer exact copies of files from one computer to another via the Internet.

       7.      To use a P2P or BitTorrent distribution system requires more than a click of a

button. A software installation and configuration process needs to take place.

       8.      The P2P systems enable widespread distribution of digital files: each user of the

system who copies a digital file from another user can then distribute the file to other users and

so on, so that complete digital copies can be easily and quickly distributed thereby eliminating

long download times.

       9.      While Plaintiff has observed the infringement occurring on the Internet, it does

not know the true identities of those individuals who are committing the infringement.

       10.     Additionally, the P2P methodologies for which Maverickeye UG monitored for

Plaintiffs Motion Picture make even small computers with low bandwidth capable of

participating in large data transfers across a P2P network. The initial file-provider intentionally

elects to share a file using a P2P network. This is called "seeding." Other users ("peers") on the

network connect to the seeder to download. As additional peers request the same file, each

additional user becomes a part of the network (or "swarm") from where the file can be



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downloaded. However, unlike a traditional peer-to-peer network, each new file downloadci· is

receiving a different piece of the data from each user who has already downloaded that piece of

data, all of which pieces together to comprise the whole.

          11.   This means that every "node" or peer user who has a copy of the infringing

copyrighted material on a P2P network can also be a source of download for that infringing file,

potentially both copying and distributing the infringing Motion Picture. The distributed nature of

P2P leads to rapid spreading of a file throughout peer users. As more peers join the swarm, the

likelihood of a successful download increases. Because of the nature of a P2P protocol, any seed

peer who has downloaded a file prior to the time a subsequent peer downloads the same file is

automatically a possible source for the subsequent.

          12.   All infringers connected to those files are investigated through downloading a part

of the file placed on their computer.

          13.   This evidence including the date it was first downloaded is then saved on a secure

server.

          14.   Once the searching software program identifies an infringer in the way described

herein for the Motion Picture for which Plaintiff owns the exclusive licensing and distribution

rights, it automatically obtains the IP address of a user offering the file for download and saves it

in a secure database.

          15.   The forensic software routinely collects, identifies and records the Internet

Protocol ("IP") addresses in use by those people who employ the BitTorrent protocol to share,

copy, reproduce and distribute copyrighted works. In this way the software is connected to files

of illegal versions of the Motion Picture.




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        16.    An IP address is a unique numerical identifier that is automatically assigned to an

internet user by the user's Internet Service Provider ("ISP"). It only enables Plaintiff to trace the

infringer's access to the Internet to a particular ISP. An ISP can be a telecommunications service

provider such as Verizon, an Internet service provider such as America Online, a cable Internet

service provider such as Comcast, or even an entity such as a university that is large enough to

establish its own network and link directly to the Internet. Each time a subscriber logs on, he or

she may be assigned a different (or "dynamic") IP address unless the user obtains from his/her

ISP a static IP address. ISPs are assigned certain blocks or ranges of IP addresses by the Internet

Assigned Numbers Authority ("IANA") or a regional internet registry such as the American

Registry for Internet Numbers ("ARIN'').       However, some ISPs lease or otherwise allocate

certain of their IP addresses to other unrelated, intermediary ISPs. These intermediaries can be

identified by the ISP and the intermediaries own logs will contain the subscriber information.

        17.        In logs kept in the ordinary course of business, ISPs keep track of the IP

addresses assigned to their subscribers. Once provided with an IP address, plus the date and time

of the detected and documented infringing activity, ISPs can use their subscriber logs to identify

the name, address, email address, phone number and other related information of the

user/subscriber.

       18.     Only the ISP to whom a particular IP address has been assigned for use by its

subscribers can correlate that IP address to a particular subscriber.       From time to time, a

subscriber of internet services may be assigned different IP addresses from their ISP. Thus, to

correlate a subscriber with an IP address, the ISP also needs to know when the IP address was

being used.




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        19.    Maverickeye UG determined that the Doe Defendants identified in Complaint

Exhibit A were using the ISPs listed in the exhibit to gain access to the Internet and distribute

and make available for distribution and copying Plaintiff's copyrighted motion picture.

        20.    It is possible for digital files to be mislabeled or corrupted; therefore,

Maverickeye UG (and accordingly, Plaintiff) does not rely solely on the labels and metadata

attached to the files themselves to determine which motion picture is copied in the downloaded

file, but also to confirm through a visual comparison between the downloaded file and the

Motion Picture themselves.

       21.     As to Plaintiff's copyrighted Motion Picture, as identified in the Complaint, a

member ofMaverickeye UG watches a DVD of the original Motion Picture.

       22.     After Maverickeye UG identified the Doe Defendants and downloaded the motion

pictures they were distributing, Maverickeye UG opened the downloaded files, watched them

and confirmed that they contained the Motion Picture identified in the Complaint.

       23.     To identify the IP addresses of those BitTorrent users who were copying and

distributing Plaintiffs copyrighted Motion Maverickeye UG's forensic software scans peer-to-

pecr networks for the presence of infringing transactions.

       24.     After reviewing the evidence logs, I isolated the transactions and the JP addresses

of the users responsible for copying and distributing the Motion Picture.

       25.     Through each of the transactions, the computers using the IP addresses identified

in Complaint Exhibit A transmitted a copy or a part of a copy of a digital media file of the

copyrighted Motion Picture identified by the hash value set forth in Complaint Exhibit A. The

IP addresses, hash values, dates and times contained in Complaint Exhibit A correctly reflect

what is contained in the evidence logs. The subscribers using the IP addresses set forth in



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Complaint Exhibit A were all part of a "swam1" of users that were reproducing, distributing,

displaying or performing the copyrighted Motion Picture.

        26.    Moreover, the users were sharing the exact same copy of the Motion Picture. Any

·digital copy of an audiovisual work may be uniquely identified by a unique, coded, string of

characters called a "hash checksum." The hash checksum is a string of alphanumeric characters

generated by a mathematical algorithm known as US Secure Hash Algorithm 1 or "SHA-1". By

using a hash tag to identify different copies of the Motion Picture, MEU was able to confirm that

these users reproduced the very same copy of the Motion Picture.

       27.     The MEU software analyzed each BitTorrent "piece" distributed by each IP

address listed in Complaint Exhibit A and verified that reassembling the pieces using a

specialized BitTorrent client results in a fully playable digital motion picture.

       28.     The software uses a geolocation functionality to determine the location of the IP

addresses under investigations. The location of each IP address is set forth in Complaint Exhibit

A.   IP addresses are distributed to ISPs by public, nonprofit organizations called Regional

Internet Registries. These registries assign blocks of IP addresses to ISPs by geographic region.

Master tables correlating the IP addresses with local regions are maintained by these

organizations in a publicly-available and searchable format. An IP address' geographic location

can be further narrowed by cross-referencing this information with secondary sources such as

data contributed to commercial database by ISPs.




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       FURTHERDECLARANT SAYETH NAUGHT.

                                        DECLARATION

       PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

       Executed on this']"( day of     ffi--b ,2016.

       By.    v.~MaCek




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